Case 2:05-cr-20192-.]DB Document 22 Filed 08/11/05 Page 1 of 4 PagelD 28
UN|TED STATES DlSTFt|CT COURT

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MEMPH|S D|VlSlON

UN|TED STATES OF AN|ER|CA

D.C.

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_v- 2:050R20192-01-B CtErit»t usl lift

as air n-
HERNANDEZ RODR|GUEZ

Ed Perry, FPD

Defense Attorney

200 Jefferson, Suite 200
Nlemphis, TN 38103

 

JUDGN|ENT lN A CR|M|NAL CASE
(For Offenses Committed On or After November 1, 1987)

The defendant pleaded guilty to Count 3 of the indictment on August10,2005. Accordingly,
the court has adjudicated that the defendant is guilty of the following offenses:

Date Count
Title & Section L~|M.OILS_° Offense Number
Concluded
18 U.S.C. § 1028(a)(6) Fraud With identification Doouments 05/05/2005 3

The defendant is sentenced as provided in the following pages of this judgment. The
sentence is imposed pursuant to the Sentencing Reform Act of 1984 and the l\/landatory
Victims Ftestitution Act of 1996

Counts 1 & 2 are dismissed on the motion of the United States.
lT lS FURTHER ORDERED that the defendant shall notify the United States Attorney for this district

Within 30 days of any change of name, residence, or mailing address until all fines, restitution, costs
and special assessments imposed by this judgment are fully paid.

Defendant’s Soc. Sec. No. none Date of imposition of Sentence:
Defendant’s Date of Birth: 10/26/ 1979 August 10, 2005
Deft’s U.S. N|arshal No.: 20273-076 '

Defendant’s l\/lailing Address:
2515 Ketchum l'-ioad
l\/lernphis, TN 38114

Nta

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%<
b J. DAN|EL BFH§EN
N

 

U TED STATES DlSTFt|CT JUDGE

August 15 . 2005

This document entered on the docket shea in compliance
W:m sure 55 and/or sam rsch on °' a 0

 

Case 2:05-cr-20192-.]DB Document 22 Filed 08/11/05 Page 2 of 4 PageiD 29

Case No: 2:CFt20192-01-B Defendant Name: Hernandez FiODi-'t|GUEZ Page 2 of 3
|N|PRISON|VIENT

The defendant is hereby committed to the custody of the United States Bureau of
Prisons to be imprisoned for a term of Time Served.

- Defendant to be released to immigration Authorities.

The defendant is remanded to the custody of the United States i\/larshai.

RETURN

l have executed this judgment as foilows:

 

 

 

 

 

 

 

Defendant delivered on to
at , With a certified copy of this
judgment.
UN|TED STATES lViAFtSHAL
By:

 

Deputy U.S. i\/iarshai

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Case No: 2;CR20192-01-B Defendant Name: Hernandez FiODFi|GUEZ Page 3 of 3

CR||V||NAL NIONETARY PENALTIES

The defendant shall paythe following total criminal monetary penalties in accordance
with the schedule of payments set forth in the Schedu|e of Payments. The defendant shall
pay interest on any fine or restitution of more than $2,500, unless the fine or restitution is
paid in full before the fifteenth day after the date of judgment, pursuant to 18 U.S.C. §
3612(f). Aii of the payment options in the Scheduie of Payments may be subject to
penalties for default and delinquency pursuant to 18 U.S.C. § 3612(g).

Total Assessment Total Fine Total Restitution

$25.00

 

The Specia| Assessment shall be due immediatelyl
FiNE
No fine imposed.

REST|TUT|ON

No Restitution was ordered.

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 22 in
ease 2:05-CR-20192 Was distributed by faX, mail, or direct printing on
August 1], 2005 to the parties listed.

 

 

Valeria Rae Oliver

U.S. ATTORNEY'S OFFICE
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Ste. 800

Memphis7 TN 38103

EdWin A. Perry

FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

Memphis7 TN 38103

Honorable J. Breen
US DISTRICT COURT

